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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            SHREVEPORT DIVISION
  WUELLNER OIL & GAS INC, ET AL                  CIVIL ACTION NO. 5:10CV1686

  VERSUS                                         JUDGE FOOTE

  ENCANA OIL & GAS (U S A) INC                   MAGISTRATE JUDGE HORNSBY


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